             Case 3:24-cr-00450-RSH Document 54 Filed 04/19/24 PageID.151 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                     V.                                (For Offenses Committed On or After November 1, 1987)
       JOSE GUADALUPE VIERA RODRIGUEZ (2)
                                                                          Case Number:         3:24-CR-00450-RSH

                                                                       Jamie Elizabeth Schmid, Federal Defenders
                                                                       Defendant's Attorney
USM Number                           13079-506


THE DEFENDANT:
IZl pleaded guilty to count(s)             1 of the Information
                                          -------------------------------
□      was found guilty on count(s)
       after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                      Count
8:1324(a)(l)(A)(ii) and (v)(ll)- Transportation of Certain Aliens and Aiding and Abetting (Felony)                           I




    The defendant is sentenced as provided in pages 2 through                     5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D      The defendant has been found not guilty on count(s)
                  ___ __________
IZl Count(s) remaining;;;__                                       is           dismissed on the motion of the United States.

IZ]    Assessment: $100.00 - Remitted


 IZ]   JVTA Assessment*: $5000.00 - Remitted
       The Court finds the defendant indigent
       *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 IZl No fine                              Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                        Anril J9 2024
                                                                       Date of Imposition of Sentence



                                                                       HON. ROBERTS. HUIE
                                                                       UNITED STATES DISTRICT JUDGE
           Case 3:24-cr-00450-RSH Document 54 Filed 04/19/24 PageID.152 Page 2 of 2
AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JOSE GUADALUPE VIERA RODRIGUEZ (2)                                       Judgment - Page 2 of2
CASE NUMBER:              3:24-CR-00450-RSH

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time Served




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
       The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant must surrender to the United States Marshal for this district:
             at                             A.M.              on
       □     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 □
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                ------------- to ----------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                  3:24-CR-00450-RSH
